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                                           5                                 IN THE UNITED STATES DISTRICT COURT
                                           6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   ROBERT GILMORE, et al.,                               No. C 66-45878 SI
                                           9                   Plaintiffs,                           ORDER RE: MOTION FOR CONTEMPT
                                          10     v.
For the Northern District of California




                                          11   STATE OF CALIFORNIA,
    United States District Court




                                          12                   Defendant.
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                                          14            Prisoner Darryl E. Brown has filed a “Motion for findings of Contempt and/or Supplementary

                                          15   Order” [Docket No. 330]. Brown complains that his access to the prison law library has been

                                          16   obstructed. In April 2010 the injunction in this action was terminated and the case has been closed.
                                          17   Therefore, the Court cannot continue to accept motions in this case.
                                          18            The Court advises Brown to again contact the Prison Law Office, 1917 Fifth Street, Berkeley,
                                          19   California, 94710 if he wishes to pursue an independent legal action.
                                          20            This Order resolves Docket No. 330.
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                                          22            IT IS SO ORDERED.
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                                          24   Dated: November 19, 2012
                                          25                                                                   SUSAN ILLSTON
                                                                                                               United States District Judge
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